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8                            UNITED STATES DISTRICT COURT
9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     TREVOR REYNOLDS, et al.,                          Case No.: 11cv1256-JAH (AGS)
12                                     Plaintiffs,
                                                         ORDER:
13     v.
                                                         (1) ADOPTING THE MAGISTRATE
14
                                                         JUDGE’S REPORT AND
15     COUNTY OF SAN DIEGO, et al.,                      RECOMMENDATION (Doc. No.
                                                         210); and
16                                   Defendants.
17                                                       (2) GRANTING PETITIONER’S
                                                         MOTION TO APPROVE MINORS’
18
                                                         COMPROMISE (Doc. No. 209)
19
20          Pending before the Court is the review of the Report and Recommendation, (Doc.
21    No. 210), issued by the United States Magistrate Judge Andrew G. Shopler, recommending
22    that Petitioner Robert R. Powell’s (guardian ad litem for minor plaintiffs H.R. and R.R.)
23    motion for approval of minors’ compromise (“Petition”) (Doc. No. 209) be granted.
24    Defendant filed a non-opposition to the Magistrate Judge’s Report and Recommendation.
25    See Doc. No. 211.
26          Upon careful consideration of Petitioner’s motion and good cause appearing, the
27    Court (1) ADOPTS the Magistrate Judge’s Report and Recommendation; and (2)
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1     GRANTS the motion approving minors’ compromise. Accordingly, IT IS HEREBY
2     ORDERED that:
3                1. $35,000 of the judgment paid by Defendant County of San Diego will be used to
4                     fund an annuity for the benefit of Minor Plaintiff H.R. Said amount will be made
5                     payable to Structured Assignments, SCC to fund periodic payments as outlined
6                     in Exhibit 1a 1.
7                2. $25,000 of the judgment paid by Defendant County of San Diego will be used to
8                     fund an annuity for the benefit of Minor Plaintiff R.R. Said amount will be made
9                     payable to Structured Assignments, SCC to fund periodic payments as outlined
10                    in Exhibit 1b.

11               3. Defendant County of San Diego’s obligation to make the periodic payments
                      described herein shall be assigned to Structured Assignments, SCC through its
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                      segregated cell, Class F Cell, by way of a Non-Qualified Assignment and funded
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                      by an annuity contract issued by Security Benefit Life Insurance Company. To
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                      fund the periodic payments, the County shall issue checks in the amounts of the
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                      annuities ($35,000 and $25,000) payable to Structured Assignments, SCC, and
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                      shall execute the Non-Qualified Assignments and Releases.
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                 4. Said monies are not to be withdrawn until disbursed in accordance with the
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                      payment schedule set forth on Exhibits 1a and 1b hereto.
19               5. Unless otherwise ordered by the Court, said monies are not to be used for Minors
20                    H.R. and R.R. for necessities of life while they are minors.
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          References to Exhibit 1a and 1b are attached to Petitioner’s motion (Doc. No. 209) and are incorporated herein by reference.

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1           6. The balance of the settlement funds will be disbursed as follows:
2                 a. $350,000.00 in attorneys’ fees, made payable to “The Law Office of
3                    Donnie R. Cox.”
4                 b. $72,217.90 in costs advanced, made payable to “The Law Office of Donnie
5                    R. Cox.”
6                 c. The balance of $217,782.10 made payable to “The Law Office of Donnie
7                   R. Cox Client Trust Account and Trevor Reynolds and Heather Camacho.”
            IT IS SO ORDERED.
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10    DATED: July 14, 2020                        _____________________________
                                                  Hon. John A. Houston
11
                                                  United States District Judge
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